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VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/02/2018

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                         Wilmington Division

IN RE:
Ginger Judge Tew                                                  CASE NO.: 19−02511−5−SWH
( debtor has no known aliases )
1879 White Lake Drive                                             DATE FILED: June 3, 2019
PMB 7261
Elizabethtown, NC 28337                                           CHAPTER: 13




                                                        DEFICIENCY NOTICE

To: Ginger Judge Tew
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed by June 17, 2019 .

Schedule A/B, Schedule C, Schedule E/F, Schedule G, Schedule H, Schedule I, Schedule J, Statement of
Affairs, Statement of Current Monthly Income and Disposable Income Calculation − Ch. 13,

Pursuant to §521(i)(1) of the Bankruptcy Code, this case may be automatically dismissed effective on the
46th day after the date of the filing of the petition if the above listed deficiency is not corrected. Should the
case be dismissed and the debtor(s) file another petition within one year, the automatic stay may be limited
to 30 days or may not go into effect absent a motion and order imposing or extending the automatic stay.

The Chapter 13 plan must be filed by June 17, 2019 .

The Summary of Your Assets and Liabilities and Certain Statistical Information must be filed by June 17,
2019 .

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: June 3, 2019


                                                                  Deputy Clerk
